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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

ROLANDO PENATE,
Plaintiff,
v.

ANNE KACZMAREK, KRIS FOSTER,
RANDALL RAVITZ, JOSEPH BALLOU,
ROBERT IRWIN, RANDY THOMAS, SONJA
FARAK, SHARON SALEM, JAMES
HANCHETT, JULIE NASSIF, LINDA HAN,
ESTATE OF KEVIN BURNHAM,
STEVEN KENT, JOHN WADLEGGER, GREGG
BIGDA, EDWARD KALISH, and CITY OF
SPRINGFIELD,

Defendants.

\/\_/\_/\/\./V\_/\/\_/\./\./\/\_/\/\_/\/\/\./

 

CIVIL ACTION NO. 3:17-cV-30119

ANNE KACZMAREK'S MEMORANDUM IN SUPPORT OF HER
MOTION TO DISMISS THE COMPLAINT AND REOUEST FOR A HEARING

Date: January 29, 2018

ANNE KACZMAREK

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i. Introduction

At all times relevant to this dispute, Anne Kaczmarek (“Ms. Kaczmarek”) was an
Assistant Attorney General who Was actively prosecuting former Amherst Drug Lab chemist
Defendant Sonja Farak ("Farak"). Plaintiff Rolando Penate (“Penate”) claims that l\/ls.
Kaczmarek violated his civil rights and intentionally inflicted emotional distress upon him by
failing to produce certain exculpatory evidence she had obtained in the course of the Farak
prosecution.l Given the absolute immunity afforded to Ms. Kaczmarek for any alleged
misconduct arising from discretionary acts and omissions undertaken in her capacity as a
prosecutor, Penate’s claims against her fail as a matter of law.

United States Supreme Court precedent and its progeny make clear that the protections of
absolute immunity incorporate and apply to circumstances in which a prosecutor exercises her
prosecutorial discretion to review and identify exculpatory evidence. lrnbler v. l°;icl"il_ir_i_z;g. 424
U.S. 409, 430 (1976). lndeed, Me_r made clear that even the “deliberate withholding of
exculpatory information” is included within the “legitimate exercise of prosecutorial discretion.”
@, at 431-32 n. 34. Thus, if Sonya Farak were to have asserted claims identical to those being
asserted by Penate, there is little doubt that Farak’s claims would be subject to immediate
dismissal based upon the prosecutorial immunity doctrine.

ln apparent recognition of these clear and well-established legal principles, Penate seeks
to set aside over forty years of Supreme Court precedent by attempting to somehow restrict or
limit Ms. Kaczmarek’s discretionary, prosecutorial functions and responsibilities to the Farak
prosecution alone, and contends that those identical prosecutorial functions allegedly exercised

by l\/ls. Kaczmarek in the derivative Penate matter should be ignored. Penate’s creative pleading

 

' lt goes without saying that l\/Is. Kaczmarek strongly disputes the core facts underlying Penate’s claims but
recognizes that at this stage ofthe proceedings and for purposes ofthis motion, all ofPlaintift’s allegations must be
accepted as true.

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at most establishes a distinction without a difference ln fact, Penate’s position flies in the face
of well-settled law that requires the Court to examine the actual function that Ms. Kaczmarek
allegedly performed in assessing her civil liability rather than relying upon labels,
characterizations and conclusions As discussed below, and at its core, Penate alleges that l\/ls.
Kaczmarek committed prosecutorial misconduct by withholding certain information she obtained
while acting in a prosecutorial capacity (that is, while exercising her prosecutorial function) and
that her prosecutorial role arguably compelled her to disclose. As such, the claims against l\/ls.
Kaczmarek fail as a matter of law and must be dismissed

ii. The Factual Allegatiuns of the Complaint

The allegations of the Complaint pertinent to l\/ls. Kaczmarek, which must be assumed as
true for purposes of the pending motion, are as follows:

Ms. Kaczmarek was employed as an Assistant Attorney General ("AAG") by the AGO
between 2005 and July 2014. Complaint1l2. ln January 2013, Ms. Kaczmarek was assigned to
prosecute Farak, 11204, a former chemist for the Massachusetts Department of Mental Health
("Dl\/IH"). 118 Farak had been a chemist with the DMH since in or around July 2003, and as of
at least 2004, worked in the Amherst Drug Lab. WS, 82. As an employee ofthe Dl\/IH, Farak
was responsible for the forensic analysis of suspected drug Samples submitted by law
enforcement agencies 1126-27 Among the samples Farak was tasked with testing were drug
samples allegedly purchased from Penate by undercover police officers 1135 Farak tested the
Penate samples on December 22, 2011, January 6, 2012, and January 9, 2012, and determined
that the samples were positive for a controlled substance. 11142-43. Grand jurors returned an
indictment against Penate in February 2012 after reviewing evidence including drug certificates

signed by Farak. 111160-62.

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Unbeknownst to those she worked with, Farak was battling drug addiction almost the
entire time she worked at the Amherst Drug Lab. 1182, 138, 144. Approximately two years
after testing Penate's drug samples, on January 18, 2013, Farak came under the suspicion of her
superiors after two cocaine samples that had been assigned to Farak for testing went missing
from the Amherst Drug Lab evidence room. 11188-90. After finding sample case envelopes in
Farak's storage locker, police approached Farak and questioned her concerning the missing drug
samples 11191-95. That same day, police impounded and towed Farak's vehicle, and early the
next day, obtained a search warrant allowing them to search the vehicle. 11196-98.

Police searched Farak's vehicle early in the morning of January 19, 2013. 1199. During
the search, police seized approximately 300 pages of paper. 1201. That paperwork included not
only paperwork from the Amherst Drug Lab, but also mental health worksheets and a Diary Card
that Farak had completed relating to treatment she had received from Service Net, a non-profit
human services agency, in connection With her drug addiction. 11144, 201. Farak had marked
the Diary Card with the month and days that she had completed it, but not with the year. §
l"lxhibil l.2 The Diary Card reflected Farak's struggles with drug addiction for approximately a
one-week period, including drugs that she had used and her emotional state. 11145-51. Police

inventoried the paperwork they had recovered as "assorted lab paperwork" on the search warrant

 

2 A redacted version ofthe first page ofthe Service Net Diary card is attached As Plaintiffs allegations incorporate
and rely upon materials not attached to the Complaint, l\/ls. Kaczmarek is entitled to rely upon and attach those
documents in arguing for dismissal E Wntter:aon v. Pagg, 987 F.2d l, 3 (lst Cir. 1993). WLLMJ_ states that:

[o]rdinarily, of course, any consideration of documents not attached to the complaint, or not
expressly incorporated therein, is forbidden, unless the proceeding is properly converted into one
for summary judgment under Rule 56. However, courts have made narrow exceptions for
documents the authenticity of Which are not disputed by the parties; for official public records; for
documents central to plaintiffs' claim; or for documents sufficiently referred to in the complaint

l_d., 987 F.2d at 3 (internal citations omitted). There can be no dispute that the Service Net Diary Card, the
withholding of Which is the basis ofPlaintiff‘s claim, fits this criteria

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return, as well as in a subsequent police report. 11210-11. Based on the evidence against her,
Farak was arraigned in Belchertown District Court on January 22, 2013. 1212.

l\/ls Kaczmarek began working on the Farak prosecution in January 2013. 11204-07.
During the course of her prosecution, the Complaint alleges that l\/ls. Kaczmarek reviewed
evidence that had been collected concerning Farak's alleged crimes 1220. Among other things,
the Complaint alleges that l\/ls Kaczmarek reviewed the Service Net Diary Card that Farak had
completed 11220-21. l\/ls. Kaczmarek addressed the Service Net Diary Card and other mental
health worksheets in a "Prosecution l\/lemo" that she drafted and circulated to her supervisors
11234-35. ln that memorandum, Ms. Kaczmarek reported that based on her review, while
"[c]ase law" suggested "the paperwork [was] not privileged[,]" she had not presented the mental
health records to the Farak grand jury "out of an abundance of caution." 1235.

During the course of its prosecution, Ms. Kaczmarek and the AGO were charged with
determining what evidence in its possession amounted to exculpatory evidence, not only for
Farak, but also for the criminal defendants whose drug samples Farak had tested (the "Farak
Defendants"), including Penate. 1232. The Complaint alleges that l\/Is Kaczmarek “dL'itlL-;Lml”
that while the mental health worksheets should be turned over to Farak, they need not be turned
over to District Attorneys or Farak Defendants. 1123 8-39 (emphasis supplied).

While Kaczmarek pressed on with her prosecution of Farak, District Attorneys' offices
continued to prosecute the Farak Defendants. 1242. On July 15, 2013, Penate filed a motion to
dismiss the drug charges against him, based on Farak's misconduct and based on the
government's failure to turn over exculpatory evidence. 1242. The court entered an order both
reminding the Assistant District Attorney prosecuting Penate to seek exculpatory material from

other government entities, and requiring an evidentiary hearing concerning the scope of Farak's

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misconduct and the impact that it had on Penate's case. 11243-44. When that Assistant District
Attorney sought additional exculpatory evidence from the AGO pursuant to the court's order,
Kaczmarek and the AGO allegedly advised him that all relevant evidence had previously been
turned over. 11244-46.

Around that same time, Hamden County Superior Court Judge Kinder issued an order
consolidating 14 post-conviction cases for an evidentiary hearing on September 9, 2013, focused
on the timing and scope of Farak's misconduct 1247. The parties agreed to present Penate's pre-
trial motion to dismiss at this same hearing. 1262. Approximately two weeks before the hearing,
on August 22, 2013, the Complaint alleges that Penate served Ms. Kaczmarek and Ballou, a
police officer assigned to the AGO who had participated in the search of Farak's vehicle, with
subpoenas to testify at the evidentiary hearing and to bring with them "[c]opies of any and all
inter and intraoffice correspondence pertaining to the scope of evidence tampering and/or
deficiencies at the Amherst Drug Laboratory from January 18, 2013 to the present." 115, 248-49.
Subsequently, on August 30, 2013, Ballou received a Subpoena duces tecum for the post-
conviction hearing requesting "the production of all documents and photographs pertaining to the
investigation of Sonja Farak and the Amherst Drug Lab." 1263.

The Complaint alleges that the AGO assigned Assistant Attorney General Kris Foster to
represent the AGO in the Superior Court proceedings and to respond to the subpoenas 11253,
265. The Complaint also alleges that Ms. Kaczmarek, who was still prosecuting Farak,
communicated with her superiors in the AG's office concerning the evidence that she had
analyzed in the ongoing Farak prosecution and their strategy in the judicial proceeding, 1266,
and later participated in meetings with Foster and her superiors concerning the AG's strategy in

responding to the subpoena 11267-272. During those meetings, the Complaint alleges that Ms

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Kaczmarek revealed that she had copies of Farak's mental health worksheets, but that she did not
believe that they were relevant to the Farak Defendants. 1274. Following their strategy
meetings, and allegedly without personally reviewing the materials herself, 1288, AAG Foster
filed a motion to quash the post-conviction subpoena to Ballou, or in the alternative, for a
protective order "restrict[ing] the scope of the subpoena by not requiring the AGO to produce
seven types of information, including 'emails responsive to the subpoena, but not already
contained in the case file specifically listed therein' and 'information concerning the health or
medical or psychological treatment of individuals."' 1276.

That same day, Penate filed a motion to compel the production of documents in the
possession of third parties, including DPH and the AGO, including "any and all evidence
suggesting that a third party may have been aware of Farak's evidence tampering at the Amherst
Drug Laboratory prior to Farak's arrest;" evidence responsive to his August 22, 2013 subpoenas
to l\/Is Kaczmarek and Ballou; and Farak's personnel file. 11278-79, 281, 283.

The already-scheduled court hearing took place on September 9, 2013. 1287. During
that hearing, the court denied the motion to quash Ballou's testimony, and Ballou proceeded to
testify that day. 11287, 292. Ballou allegedly testified during the hearing that he believed that
everything in his Farak investigation file had already been turned over. 1301. ln response, the
court instructed Foster to review Ballou's file and to submit copies of undisclosed documents for
in camera review. 1289.

According to the Complaint, Foster returned to the AGO, and reported on the hearing to
Ms. Kaczmarek and her supervisors, including Ballou's testimony that his files had already been
turned over. 1301. The Complaint alleges that l\/ls. Kaczmarek reviewed what sheldetermined to

be Ballou's trial file for the Farak prosecution, and determined that nothing in Ballou's file

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remained to be turned over. 113 02-04. l\/ls. Kaczmarek is alleged to have advised AAG Foster
that there was no need to produce additional materials, which AAG Foster reported to Judge
Kinder in a September 16, 2013 letter. 13 05.

Also on September 16, 2013, Plaintiff`s attorney sent an email to AAG Fostler, requesting
to inspect the Farak evidence that had been seized from her car. 13 09. When forwarded the
email by Foster, l\/ls. Kaczmarek allegedly responded "[w]hy is this relevant to this case." 1311.
The Complaint alleges that, as a result of Ms. Kaczmarek's representation that the materials were
not relevant, Foster represented to Plaintiff`s counsel that the evidence was not relevant to his
case. 1312. As a result, on October 1, 2013, Plaintiffs counsel filed a motion to inspect the
evidence from the ongoing Farak prosecution. 1313. The next day, the parties appeared in court
again for a hearing on various of Penate's discovery motions, including a motion to inspect
Farak's personnel file and the motion for the AGO's intra-office correspondence 11321, 322-23,
327. The court denied the motion to inspect Farak's personnel file. 1323. Regarding Penate's
request for internal AGO communications Foster allegedly reported that Kaczmarek had advised
her that there was no exculpatory materials and that the AG's communications constituted
protected work product 1331-32. Although the court initially allowed the motion to compel the
production of the AGO's intra-office communications after reviewing a motion for clarification
filed by Foster, the court denied the motion. 11336-40.

Ultimately, the court denied Penate's motion to dismiss, allowed the Commonwealth's
motion in limine to prevent Penate from arguing that Farak's had engaged in misconduct during
the period of time that drugs associated with Penate were tested, and allowed Foster's motion to
quash subpoenas to Ms. Kaczmarek and Ballou. 11343-45, 347, 351. These decisions are

alleged to have been based on Foster's representation that there was no evidence that Farak had

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engaged in any misconduct in 2011 and 2012. 1347. Penate's trial took place in December 2013,
after which he was found guilty of a single count of Distributing a Class A substance on
November15, 2011. 11352, 376.

Throughout Penate's prosecution, l\/ls. Kaczmarek continued to prosecute Farak. 13 82.
Farak ultimately pled guilty to the charges against her on January 6, 2014. 1381. Following the
completion of her prosecution, Penate's counsel filed a motion to inspect evidence from Farak's
prosecution, which the AGO did not oppose. 13 82. Penate's counsel located the partially-dated
mental health records during his inspection 13 83. Upon this finding, the Complaint alleges that
the AGO sent copies of the documents seized from Farak's car to District Attorneys prosecuting
the Farak Defendants, “pursuant to the AGO's obligation to provide exculpatory in|`ol'm:\rion.”
1385 (emphasis supplied).

iii. Argument

I. ALL COUNTS AGAINST ASSISTANT ATTORNEY GENERAL ANNE
KACZMAREK MUST BE DISMISSED UNDER FED. R. CIV. P. 12(b)(6).

Under federal law, a complaint will be dismissed unless factual allegations in the
complaint are "enough to raise a right to relief above the speculative level[.]" Bell Atl. figva
Twombly, 550 U.S. 544, 555 (2007). lt is the plaintiffs burden "at the pleading stage [to make]
allegations plausibly suggesting (not merely consistent with)" the right to relief. E., 550 U.S. at
557. "A claim has facial plausibility when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for the misconduct alleged."
Ashcroft v. lgbal 556 U.S. 662, 678 (2009). Although factual allegations in the complaint must
be taken as true, "[a] pleading that offers 'labels and conclusions' or 'a formulaic recitation of the
elements of a cause of action will not do."' l_d. at 678 (quoting Twombly, 550 U.S.‘at 555).

"Where a complaint pleads facts that are 'merely consistent with' a defendant's liability, it 'stops

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short of the line between possibility and plausibility of entitlement to relief,"' l_q@, 556 U.S. at
678 (quoting Twombly, 550 U.S. at 557) and such a claim must be dismissed Further, it is well
established that legal conclusions are not entitled to the benefit of the rule that a court must
accept as true all of the allegations contained in a complaint Twombly, 550 U.S. at 564.

A. Absolute Prosccutorial Immunitv Bars Plaintifi‘s Claims A_gainst Ms. Kaczmarek

 

The Complaint makes clear that Plaintiffs claims against l\/ls. Kaczmarek are barred by
absolute prosecutorial immunity. Prosecutorial immunity protects a prosecutor from civil
liability when she engages in activities that are "intimately associated with the judicial phase of
the criminal process." Imhler v. Pachtman, 424 U.S. 409, 430 (1976); §§M Reid v. Slale ol`
NLHai_npgl_ij_r§ 56 F.3d 332, 337 (1st Cir.1995). The purpose of prosecutorial immunity is to
shield prosecutors from lawsuits that "could be expected with some frequency,'l lm_blg, 424 U.S.
at 424-25; which "Would divert prosecutors' attention and energy away from their important duty
of enforcing the criminal law", Q. at 425; and which "would prevent the vigorous and fearless
performance of the prosecutor's duty that is essential to the proper functioning of the criminal
justice system[.]" E. at 427-28.

Courts apply a "functional approach" in determining whether or not a prosecutor enjoys
absolute immunity from § 1983 liability, that is, "the availability of absolute immunity depends
upon the nature of the function being performed rather than the identity of the actor who
l*`il?.simmons, 509 U.S. 259, 269 (1993)). Under this functional approach, prosecutorial
immunity "protects those acts which are closely associated with the judicial process and which
are performed in the course of the prosecutor's role as an advocate for the State." an_gtt_i, 89

F. Supp. 2d at 113-14 (emphasis added, citing lmbler, 424 U.S. at 430); s_e§ alj Vnn dc Kamp v.

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Goldstoin. 555 U.S. 335, 340-43 (2009) (holding that prosecutorial immunity applies whenever
the prosecutor's challenged conduct falls within the ambit of her function as an advocate for a
governmental entity).

Since the applicability of absolute immunity is determined based on the function of a
prosecutor, absolute immunity may apply to actions taken both inside and outside of the
courtroom. w Buckley 509 U.S., at 272 (holding that "the duties ofthe prosecutor in his role
as advocate for the State involve actions preliminary to the initiation of a prosecution and actions
apart from the courtroom.") Therefore, an action - inside or outside of the courtroom - will be
accorded absolute immunity "[i]f the nature of the function requires legal knowledge and the
related exercise of discretion in whether and how to use the material[.]" C rooker v. I_.lnilcd
M, No. CIV.A. 08-10149-PBS, 2010 WL 3860597, at *9 (D. l\/lass. Sept. 29, 2010)

(emphasis added, citing Van de Kamn v. Goldstein, 555 U.S. at 344). This remains true even if

 

U.S., at 344 (distinguishing administerial functions that require legal knowledge and discretion
from "administrative duties concerning, for example, Workplace hiring, payroll administration,
the maintenance of physical facilities, and the like."); Riley v. C`olnntuoim, No. CA 12-175
l\/ll\/IL, 2013 WL 866734, at *6 (D.N.H. Feb. 5, 2013), report and recommendation adopted in
part, No. CA 12-175-l\/IL, 2013 WL 866651 (D.N.H. l\/lar. 5, 2013) (holding that "where an
administrative function requires legal knowledge and the exercise of related discretion, absolute
immunity must follow").

l\/loreover, where a prosecutor is serving in a prosecutorial function, the prosecutor's
intent in undertaking her responsibilities is immaterial, and absolute immunity will attach even

where a prosecutor is alleged to have intentionally committed wrongdoing § Reid, 56 F.3d at

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337 (holding that "[t]he further allegation that these prosecutors repeatedly misled the trial court
in order to conceal their alleged misconduct does not defeat absolute immunity."); §§ BQ Burns

v. Reed 500 U.S. 478, 489-90 (1991) (holding that absolute prosecutorial immunity applied to

 

prosecutors "making false or defamatory statements in judicial proceedings (at least so long as
the statements were related to the proceeding), and also for eliciting false and defamatory
testimony from witnesses."); M, 2013 WL 866734, at *5 (holding that "[s]o long as a
prosecutor serves in the role of advocate, absolute immunity applies without regard to how
reprehensible the alleged conduct[.]"). Where the underlying activity at issue is covered by
absolute immunity, a prosecutor is also shielded by absolute immunity for allegations that she
conspired to commit that act. Qngll, 89 F. Supp. 2d at ll7.

AS the Supreme Court acknowledged in M, "it has been thought in the end better to
leave unredressed the wrongs done by dishonest officers than to subject those who try to do their
duty to the constant dread of retaliation[.]" M, 424 U.S., at 428. Further, as courts have
recognized, prosecutors' intentional wrongdoing Will not go unpunished, as there are readily
available safeguards to protect against such actions - Boards of Bar Overseers, whose primary
function it is to ensure that lawyers within their jurisdiction abide with their ethical obligations
See, e.g., § at 428-29; l\'nowlton v. Shaw, 704 F.3d 1, 9 (1st Cir. 2013).

Here, all of Ms. Kaczmarek's alleged actions constitute the carrying out of heartland,
discretionary prosecutorial functions, and thus are afforded absolute immunity.

1. lVls. Kacznmrck Aclod in a Prosccutorial Function in Reviewing Potcnlial|v

Exculpatorv Materials to be Turned Ovcr to Prosccuting District Attorncvs'
Offices.

 

Plaintiff alleges that Ms. Kaczmarek violated his Constitutional rights and infiicted

emotional distress upon him in two ways: first, in allegedly failing to produce exculpatory

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materials to District Attorneys prosecuting the Farak Defendants, and second, in allegedly failing
to produce exculpatory materials, through AAG Foster, in response to subpoenas and court
orders Ms. Kaczmarek's actions in both regards are entitled to absolute immunity,

Courts have repeatedly found that a prosecutor's analysis - and withholding - of
exculpatory materials is protected by absolute immunity,3 See, e.g., IM, 424 U.S., at 43 0;
Van de Kamp v. Golclstcin, 555 U.S., at 342-43; C`iynelli, 89 F. Supp. 2d, at 117. The First
Circuit examined this precise issue in Rei_d ln M, the plaintiff alleged that the prosecutor
defendants were not entitled to immunity after failing to turn over potentially exculpatory
materials relating to the credibility of a key witness, first on their own, and then in response to
multiple court orders 56 F.3d at 333-34. The plaintiff argued that absolute immunity should not
apply because, among other things, after the court had ordered the materials to be produced, the
prosecutors' discretion in rendering the disclosure was displaced, making the act of production
ministerial in nature. l_d. at 336. The Fir`st Circuit disagreed

The First Circuit concluded that, under M, "it is now a well-settled rule that a
prosecutor cannot be held personally liable for the knowing Suppression of exculpatory
information." I_d at 336-37 (emphasis added and internal quotations omitted, compiling case law
from numerous jurisdictions). The First Circuit determined that absolute immunity did in fact
apply, both where a prosecutor failed to disclose exculpatory evidence sua sponle, and also
where a prosecutor failed to disclose exculpatory evidence pursuant to court orders E i_c_l. The
First Circuit reasoned that even where a court order existed, a prosecutor was required to

exercise his prosecutorial discretion to assess the court's disclosure order and to assess what

 

3 'l`he Supreme Court in Burns addressed a three-factor test to apply in determining Whether to extend absolute
immunity to cover a previously unexamined prosecutorial act (in that case, a prosecutor's providing legal advice to
the police). Burns, 500 U.S.S at 484-86. The three-factor test need not be applied here, since courts have held, time
and again, that a prosecutor's suppression of exculpatory materials is a prosecutorial function, entitled to absolute
immunity,

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evidence was subject to disclosure pursuant to that order. E § at 337. l\/loreover, the Court
held that absolute immunity continued to apply where a prosecutor misled the trial court about
his failure to disclose exculpatory materials in order to conceal his failure to comply with the
order. w E. The RLid court is only one of numerous appellate courts confirming the core
holding that the suppression of exculpatory evidence is protected by absolute immunity. S_ee`

gg, lmbler, 424 U.S. at 430; Van de Kamp, 555 U.S. at 342-43; Yar-ris v. Countv o.l` |.)e|il\a»':rl'e,

 

465 F.3d 129, 137 (3d Cir. 2006); l’eay v, Ajcllo, 470 F.3d 65, 67-68 (2nd Cir. 2006); Broani v.
@gB, 320 F.3d 1023, 1030 (9th Cir. 2003); My v. Monroc C.nly, 587 F.3d 113, 125 (2d Cir.
2009); .lones v. Shanl<lant|, 800 F.3d 77, 80 (6th Cir. 1986).

Thus, Plaintiff’ s allegation that Ms. Kaczmarek violated his constitutional rights by
failing to turn over exculpatory materials during the course of her prosecution of Farak, and by
failing to turn over those very same materials in response to his subpoenas and court orders
issued in the Penate prosecution both fail as a matter of law. Ms. Kaczmarek's actions in both
regards constitute her actively engaging and carrying out prosecutorial functions that are
protected by absolute immunity,

a. As a Matter ofLaw, Ms. Kaczmarek Mav Not Be Held Civilly Lial)le for Failing' to
Produce Ercalpaforp Evfrlem'e During fire Co¢.u‘.§"e of Hcr ()H;_'oin,r: Prr)secn!ion of
Sonya Farak. '

As the government organization prosecuting Farak, the Complaint alleges that it was the
responsibility of the AGO and Ms. Kaczmarek to review evidence in their possession to
determine whether any such evidence was exculpatory, not only to Farak but also to the Farak
Defendants. 1 1431-32. Based on the review ofthe evidence in her possession, l\/ls. Kaczmarek
is alleged to have determined that the evidence, which based on her legal knowledge might

amount to protected health information, was not necessary for her own prosecution of Farak.

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Complaint 1235. l\/ls. Kaczmarek produced the mental health records to Farak's attorney, and, as
Plaintiff alleges, advised Farak's attorney that she considered the documents to be privileged
1239.

While the Complaint seeks to attribute conclusory and irrelevant mal-intent to Ms
Kaczmarek, the facts alleged in the Complaint concede that Ms. Kaczmarek was proceeding
through the very deliberative process which is expressly protected by prosecutorial immunity.
M, 1311 (Kaczmarek email to Foster asking about the health records "[w]hy is this
evidence relevant to his case?"). lndeed, Penate expressly confirmed l\/ls. Kaczmarek’s

application of her judgment and discretion in alleging that “KACZMAREK decidch the mental

 

health worksheets should not be turned over to the District Attorneys or any defendants seeking
relief based on FARAK’s misconduct.” 1238 (emphasis supplied). Shortly thereafter, Penate
alleges that "KACZMAREK falsely claimed that these documents were irrelevant to 'Farak
Defendants' like Plaintiff and should not be produced given the fact that several contained
information concerning FARAK's health/medical/psychological treatment." 1274 (emphasis
supplied).

As the law of this and other jurisdictions makes clear, l\/ls, Kaczmarek's evaluation of the
Farak evidence, and subsequent analysis as to whether that evidence amounted to exculpatory
evidence in the derivative prosecutions of the Farak Defendants, is protected by absolute
immunity, The evaluative process of producing exculpatory materials required l\/ls. Kaczmarek
to understand her obligations as a prosecutor, to apply her knowledge of the law in identifying
potentially exculpatory materials, and to exercise her discretion in deciding which materials to

turn over.

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Penate is not saved by alleging that Ms. Kaczmarek failed to apply any discretion at all in
the exercise of her duties or even that she acted maliciously and intentionally in withholding
exculpatory evidence. lndeed, whether l\/ls Kaczmarek is alleged to have intentionally withheld
evidence or simply failed to exercise any discretion is legally irrelevant Case law makes clear

that it is the discretionary_[i.ini::tinnT of the prosecutor - here, producing or withholding

 

exculpatory evidence - that is protected, and the particular prosecutor's state of mind in
performing that function has no bearing on the analysis §§_gL£;g¢, QM, 2010 WL 3860597,
at *9 (noting that absolute immunity has applied, among other times, when prosecutors have
knowing used false testimony, deliberately suppressed exculpatory evidence at trial, simply
failed to turn over exculpatory evidence, and failed to investigate adequately prior to filing
charges); M 424 U.S. at 431~32 n. 34 (explaining that the “deliberate withholding of
exculpatory information” is included within the “legitimate exercise of prosecutorial
discretion”); M, 56 F.3d at 333-34; hr_ris, 465 F.3d at 137 (“the deliberate withholding of
exculpatory information is included within the legitimate exercise of prosecutorial discretion”);

Slunucli v. ("il\r oi`l\lew York, 424 F.3d 231, 237 (2d Cir. 2005) (“a prosecutor is entitled to

 

absolute immunity even in the face of allegations of deliberate withholding of exculpatory
information); My, 587 F.3d at 125 (“[l]f the prosecutors had tested all the evidence, and then
sat on the exculpatory results for at least 72 days, they may well have violated Br_adyL
Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963); but they would be absolutely
immune from personal liability”); w 800 F.2d at 80 (noting that a prosecutor's “non-

disclosure of exculpatory information [is] certainly entitled to absolute immunity”).4 Therefore,

 

4 Requiring an analysis ofthe prosecutor's subjective state of mind in performing a prosecutorial function would
allow a plaintiffto artfully plead around immunities simply by alleging that the prosecutor acted intentionally or
failed to exercise appropriate attention in performing what is objectively a discretionary legal function. This would
undermine the absolute immunity doctrine in its entirety.

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even if her analysis was flawed, misguided or even malicious, Penate’s acknowledgement that
l\/ls. Kaczmarek’s actions required her to “decide,” she necessarily exercised her discretionary
function as a prosecutor and immunity applies

b. As a Mra‘ter r)f`Law, Ms. lt'aczr-ma‘ek Mav No! Be Held C:'w`!lv Lirrl)le for
Responding7 to Court Ora'ers and Sul)poenas in the Penate Prosecntion.

 

Nor may l\/ls. Kaczmarek be held civilly liable for her responses to Plaintiffs' subpoenas
and motions to compel in the Penate prosecution lndeed, and as noted above, the legal analysis
is no different whether l\/ls. Kaczmarek allegedly failed to turn over exculpatory materials during
the course of the Farak prosecution or by allegedly failing to comply with a court order in the
Penate prosecution RLid, 56 F.3d at 337. ln apparent recognition of the weakness of his
position, Penate attempts to “plead around” the legal deficiency by suggesting that 'l\/ls.
Kaczmarek served "only" as a third party witness in the Penate prosecution, no different than any
other witness called upon to produce documents 143 6.5 Therefore, the argument goes,
prosecutorial immunity cannot apply. Penate’s position does not withstand scrutiny.

Ms. Kaczmarek’s involvement in the Penate prosecution was not that of an ordinary third
party. Her involvement in the Penate prosecution flowed solely and exclusively from her active
and ongoing role as the Farak prosecutor and the perceived attendant obligations she had to
Farak and, derivatively, to the Farak Defendants as a result of the Farak prosecution lndeed, the
documents Penate subpoenaed and sought through motion practice were precisely the same
documents that Plaintiff alleges l\/ls. Kaczmarek was under a sua sponte duty to turn over as

exculpatory materials The core issue then in assessing l\/ls. Kaczmarek's disclosure obligations

 

5 This conclusory allegation -made only once in the 464-paragraph Complaint _ is not entitled to any weight _See
Complaint1436. lt is beyond dispute that a court will not consider allegations in a Complaint that amount to mere
labels and conclusions, g l_q@, 556 U.S. 662 at 678, and Plaintiff‘s claim that l\/ls. Kaczmarek's actions in
assessing and Withholding potentially exculpatory materials Were ministerial do not make them so. Such a label
should particularly be disregarded here, where adopting it would require the court to ignore decades worth of
controlling case law to the contrary.

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remains Whether Ms. Kacmnarcl< improperly \tfithhe|d exculpatory1 materials from Penate wl';i_t_,j
sprung from her role as Farak’s prosecutor. Again, and as courts have ruled time and time again,
this function is a prosecutorial function, and is absolutely immune from civil liability. To allow
Penate to pursue claims against l\/ls. Kaczmarek here would allow him to end-run around decades
of controlling precedent to the contrary, and would essentially allow a plaintiff to artfully plead
around immunities that the Supreme Court has already held are necessary to the proper
functioning of the criminal justice system, including the role of the prosecutor in that system.

Further, to the extent that Plaintiff alleges that l\/ls. Kaczmarek's actions became
ministerial as a result of the various subpoenas, motions and court orders issued relating to the
exculpatory materials the First Circuit has made clear that this is not so. As the First Circuit
recognized in M, despite various documents setting forth l\/ls. Kaczmarek's production
obligations l\/ls. Kaczmarek was allegedly required to review the Farak evidence and to
determine whether or not the materials constituted exculpatory evidence, M, 56 F.3d at 337.
Again, and accepting these allegations as true, l\/ls. Kaczmarek was compelled to classically
exercise her discretion, based on her analysis and experience As a result, the conduct is
prosecutorial in nature. §§ Van de Kainp, 555 U.S., at 344.

Second, to the extent that Penate alleges that l\/ls. Kaczmarek is civilly liable for her role
in advising Foster how to respond to various subpoenas and court orders during the Penate
prosecution, l\/ls. Kaczmarek is immune from liability for these actions as well. Well-established
case law makes clear that a prosecutor is absolutely immune from liability not only for actions
undertaken in the prosecution of a defendant but also for acts that are "closely associated with
the judicial process" and that are "performed in the course of the prosecutor 's role as an

advocatefor the State." Cigl'netti, 89 F. Supp. 2d at 113-14 (emphasis added). There can be no

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real debate that moving to quash the subpoenas to the AGO and its employees opposing motions
to compel relating to an ongoing prosecution, and arguing in court amount to activities that are
closely associated with the judicial process - all amount to advocacy on behalf of the state.
l\/loreover, the fact that Foster and not l\/ls. Kaczmarek prepared the AGO's motion papers

and appeared in court makes no difference To the extent that the Complaint alleges that l\/ls.
Kaczmarek was involved in Foster's litigation position and representations to the court (and thus
is liable for those positions and representations), the Supreme Court has made clear that l\/ls.
Kaczmarek is immune from liability for those actions As the Van de Knmp Court explained:

Decisions about indictment or trial prosecution will often involve

more than one prosecutor within an office. We do not see how

such differences in the pattern of liability among a group of

prosecutors in a single office could alleviate lmbler's basic fear,

namely, that the threat of damages liability would affect the way in

which prosecutors carried out their basic court-related tasks

l\/loreover, this Court has pointed out that ‘it is the interest in

protecting the proper functioning of the office, rather than the
interest in protecting its occupant, that is of primary importance.’

 

ld. at 345 (quoting Kalina v. lileteher, 522 U.S. 118, 125 (1997). As a result, l\/ls. Kaczmarek
may not be held civilly for any role she is alleged to have had in Foster's advocacy concerning
Plaintiffs subpoenas6

2. Absolute lmmunitv is Intended To Address l)reciselv the Circumstances At Issue
Here

The public policy concerns underlying the doctrine of absolute immunity fully support a
finding of immunity here, ln particular, absolute immunity has been held to be appropriate '

where other means exist to redress prosecutorial misconduct and also in instances where a

 

6 For the sake of efficiency, l\/ls. Kaczmarek will not repeat arguments made in support of Foster's motion to dismiss
the Complaint, and instead, to the extent they are relevant, refers to and incorporates the arguments made in Foster‘s
motion to dismiss (and her reply brief) concerning the applicability ofprosecutorial immunity here,

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prosecutor would be exposed to repeated lawsuits in the absence of immunity, Both of these
factors confirm that absolute immunity is appropriate here,7

a. T here Are Otlzer Means ofRedress Fm' a Line A G Prosecutor's Alle;_'ed
Intentional Withholding7 QfExculpatorv Evidence.

Absolute immunity is appropriate where a prosecutor may be subject to redress for
actions in bad faith outside of legal liability. Courts have routinely held that the availability of
state disciplinary proceedings amounts to sufficient redress for alleged bad faith withholding of
exculpatory materials w M, 424 U.S. at 428-29; Knowlton, 704 F.3d, at 1. Given that
Ms Kaczmarek's liability is alleged to be based on her withholding of exculpatory evidence, and
state disciplinary proceedings are available to remedy any alleged prosecutorial misconduct8 this
factor also confirms that a finding of absolute immunity is appropriate here.

b. A LineAG Prosecutor l'l“’r)irld Be Su!)iect to Repeated litigation For
Allegedlv Fail'ing to Prodac'e I:`.\'colpatorv Evia'euce lf`A bsolute lmu-nm:`r],=
Were NotAllowed and Applied.

Significantly, the purpose of absolute immunity is in large part to ensure that the threats
of lawsuits do not undermine the performance of prosecutors because "[t] he public trust of the
prosecutor's office would suffer if [a prosecutor] were constrained in making every decision by
the consequences in terms of his own potential liability in a suit for damages." M, 424 U.S.
at 424-25. As the Supreme Court went on to recognize, "[s]uch suits could be expected with
some frequency, for a defendant often will transform his resentment at being prosecuted into the

ascription of improper and malicious actions to the State's advocate.” E. at 425. On the

contrary, a prosecutor's non-prosecutorial functions are less open and therefore are less likely to

 

7 While the three-factor test articulated in Burns does not apply here, where courts have already determined that a
prosecutor's suppression of exculpatory materials is absolutely immune from suit, the public policy factors ofthe
three-factor test remain useful in confirming that l\/ls. Kaczmarek's alleged actions are entitled to absolute immunity

 

8 Of course, l\/ls. Kaczmarek is not contending that state disciplinary remedies would be appropriate but only that
such remedies are available should they be properly commenced

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lead to litigation, justifying only qualified immunity. E M, 500 U.S. at 494 (holding that a
prosecutor's giving legal advice to police officers is not a prosecutorial function afforded
absolute immunity, and recognizing that "a suspect or defendant is not likely to be as aware of a
prosecutor's role in giving advice as a prosecutor's role in initiating and conducting a
prosecution.").

Here, any prosecutor (such as Ms. Kaczmarek) charged with prosecuting a drug lab
chemist would be subject to lawsuits by the thousands of criminal defendants potentially affected
by the chemist's actions to whom the AG had an obligation to produce exculpatory materials
lndeed, the Complaint alleges that on average, each chemist at the Amherst Drug Lab tested
2,052 samples in 2011 alone. 1106. As alleged in the Complaint, l\/ls. Kaczmarek had an
obligation to turn exculpatory materials over to each one of the thousands of Farak Defendants.
1434. Exposing a prosecutor to civil liability under such circumstances particularly given the
high visibility of the prosecutor in such cases, would therefore necessarily impact how the AG
would perform her function (if not compel her to resist participating in any such prosecution at
all). This in turn would undermine the prosecutor's role as an advocate for the Commonwealth in
this very significant area and further supports the policy reasoning behind absolute immunity.

iv. Conclusion

For the foregoing reasons Anne Kaczmarek respectfully requests that the Court dismiss

with prejudice Counts lV and Vlll of the Complaint as against l\/ls. Kaczmarek on the grounds

that she is immune from suit based upon the prosecutorial immunity bar.

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Date: January 29, 2018

Respectfully Submitted,

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CERTIFICATE OF SERVICE

 

1, Maria T. Davis hereby certify that this document has been filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
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participants on January 29, 2018.

/s/ Maria T. Davis

 

Maria T. Davis

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